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                         THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION

JAMIE GARCIA,

        Plaintiff,                                   CASE NO. 3:10-cv-00911

v.

ACADEMY COLLECTION SERVICE, INC.

      Defendant.
_____________________________________/

                                   NOTICE OF SETTLEMENT

        “NOW COMES the Plaintiff, JAMIE GARCIA, by and through the undersigned counsel

and hereby informs the court that a settlement of the present matter has been reached and all

parties to the present matter are currently in the process of executing the aforementioned

settlement agreement, which Plaintiff anticipates will be completed within the next 30 days.”

        Plaintiff therefore requests that this honorable court vacate all dates currently set on

calendar for the present matter.

                                      Respectfully Submitted,
DATED: November 15, 2010                    KROHN & MOSS, LTD.

                                      By: /s/ James Pacitti                _
                                      James Pacitti
                                      Krohn & Moss, Ltd
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                                    NOTICE OF SETTLEMENT
